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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )               CASE NO. 8:06CR14
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )                     ORDER
                                           )
SUSAN E. OLMER,                            )
                                           )
             Defendant.                    )

      This matter is before the Court on the Defendant’s motion to continue the change

of plea hearing scheduled on January 22, 2007 (Filing No. 38).

      IT IS ORDERED that the Defendant’s motion to continue the change of plea hearing

scheduled on January 22, 2007 (Filing No. 38) is denied.

      DATED this 19th day of January, 2007.

                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               United States District Judge
